

People v Faneytt (2024 NY Slip Op 03695)





People v Faneytt


2024 NY Slip Op 03695


Decided on July 3, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
PAUL WOOTEN
BARRY E. WARHIT
JANICE A. TAYLOR
LAURENCE L. LOVE, JJ.


2023-09117
 (Ind. No. 1290/20)

[*1]The People of the State of New York, respondent,
vTahiris Faneytt, appellant.


Randall D. Unger, Kew Gardens, NY, for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill and Danielle S. Fenn of counsel; Deanna Russo on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by her motion, from a sentence of the Supreme Court, Queens County (Peter F. Vallone, Jr., J.), imposed October 4, 2023, upon her plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see People v Suitte , 90 AD2d 80).
BARROS, J.P., WOOTEN, WARHIT, TAYLOR and LOVE, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








